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IN THE UNITED STATES DISTRICT COURT
0 R l Gl N A l... FOR THE NORTHERN DISTRICT OF TEXAS ,J;§}z“, LJ;SJ
DALLAS DIVISION “" d

  
  

UNITED STATES oF AMERICA "`5‘”€’1`¥<:¢£¢:§
“ NQ3-_1.4cu-028'7N
ALYSSA NEYLAND
INDICTMENT
The Grand Jury Charges:
Count One

Burglary of a United States PoSt Oft`lce
[Violation of 18 U.S.C. §§ 2115 and 2]

On or about November 30, 2011, in the Dallas Division of the Northem District of
Texas, the defendant, Alyssa Neyland, did forcibly break into a United States Post
Offlce, located at 720 Lancaster Road, Hutchins, Texas, 75141, With the intent to commit
larceny and depredation in such post office.

In violation of 18 U.S.C. §§ 2115 and 2.

Indictment - l

 

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92me
Theft of Mail
[Violation of 18 U.S.C. §§ 1708 and 2]

On or about November 30, 2011, in the Dallas Division of the Northern District of
Texas, the defendant, Alyssa Neyland, did knowingly steal, take and abstract from a post
oftice, located at 720 Lancaster Road, Hutchins, Texas, 7 5 141, a package addressed to
P.M., containing a box of checks for P.M.’s checking account number, ending in 1673, at

Bank of America.

In violation of 18 U.S.C. §§ 1708 and 2.

Indictment - 2

 

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Count Three
Theft of Mail
[Violation of 18 U.S.C. §§ 1708 and 2]
On or about November 30, 2011, in the Dallas Division of the Northern District of
Texas, the defendant, Alyssa Neyland, did knowingly steal, take and abstract from a post
office, located at 720 Lancaster Road, Hutchins, Texas, 75141, a letter addressed to J.D.,

containing a Capital One credit card convenience check.

In violation of 18 U.S.C. §§ 1708 and 2.

Indictment - 3

 

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Forfeiture Notice
18 U.S.C. § 981(a)(1)(C); 28 U.S.C. § 2461(c)

Upon conviction of the offense alleged in Counts Two and Three, and pursuant to
18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(0), the defendant, Alyssa Neyland, shall
forfeit to the United States any property, real or personal, Which constitutes or is derived

from proceeds traceable to the offense.

A TRUE BILL

FOREPER ON

SARAH R. SALDANA
UNITED STATES ATTORNEY

%LU Q¢( m ‘\
MICHELLE ALLEN-MQC®Y
Special Assistant United States Attorney
Texas Bar No. 24052252
1100 Comrnerce Street, Third Floor
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Indictment - 4

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

, ._ THE UNITED STATES OF AMERICA
v.y

ALYSSA NEYLAND

 

INDICTMENT

Burglary of a United States Post Offlce
18 U.S.C. §§ 2115 and 2

Theft ofMail
18 U.S.C. §§ 1708 and 2

Forfeiture Notice
18 U.S.C. § 981(a)(1)(C); 28 U.S.C. § 2461(c)

3 Counts

 

A true bill rendered

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DALLAS .`/UWj(>j/,/j¢,@/LX FoREPERsoN

Filed in open court this 2 52 day of July, 2014

 

 

 

Clerk

 

 

 

Wnal matter pendl®

 

